AO 199A (Rev. 12/11- EDCA [Fresno]) Order Setting Conditions of Release                                         Page 1 of   3   Pages



                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                 Eastern District of California

UNITED STATES OF AMERICA,
                                                                          )
                              v.                                          )
                                                                          )             Case No.      1:21-CR-00023-NONE-SKO
ROY GENE DREES                                                            )


                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:             2500 Tulare Street. Fresno, CA
                                                                                              Place
      Before Magistrate Judge Sheila K. Oberto

      on                                                           April 21, 2021 at 1:00 PM
                                                                              Date and Time

      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance and Compliance Bond, if ordered.


                             RELEASE DELAYED UNTIL 2/25/2021 AT 9:00 AM
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 DREES, Roy Gene
 Doc. No. 1:21CR00023-2
                                                   ADDITIONAL CONDITIONS OF RELEASE

Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other persons and
the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

 ;      (6)       The defendant is placed in the custody of

                        Name of person or organization:           Elizabeth Irizarry

          who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of the defendant
          at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of release or disappears.

                   SIGNED: _V(OL]DEHWK,UL]DUU\_______________________________
                            CUSTODIAN

 ;      (7)       The defendant must:

        ;         (a)      report on a regular basis to the following agency:
                           Pretrial Services and comply with their rules and regulations;
        ;         (b)      report as directed to Pretrial Services Agency upon your release from custody;
        ;         (c)      reside with your third-party custodian at a location approved by the PSO, and not move or be absent from this residence without prior
                           approval of PSO; travel restricted to the Central District of California and the Eastern District of California for Court purposes only,
                           unless otherwise approved in advance by PSO;
        ;         (d)      report any contact with law enforcement to your PSO within 24 hours;
        ;         (e)      not associate or have any contact with co-defendants unless in the presence of counsel. You must also not have any contact with
                           known gang members or victims/witnesses involved in the pending matter;
        ;         (f)      not possess, have in your residence, or have access to a firearm/ammunition, destructive device, or other dangerous weapon;
                           additionally, you must provide written proof of divestment of all firearms/ammunition, currently under your control;
        ;         (g)      refrain from excessive use of alcohol, or any use of a narcotic drug or other controlled substance without a prescription by a licensed
                           medical practitioner; and you must notify Pretrial Services immediately of any prescribed medication(s). However, medical
                           marijuana, prescribed and/or recommended may not be used;
        ;         (h)      submit to drug and/or alcohol testing as approved by the PSO. You must pay all or part of the costs of the testing services based upon
                           your ability to pay, as determined by the PSO;
        ;         (i)      participate in a program of medical or psychiatric treatment, including treatment for drug or alcohol dependency, as approved by the
                           PSO; you must pay all or part of the costs of the counseling services based upon your ability to pay, as determined by the PSO;
        ;         (j)      not apply for or obtain a passport or other traveling documents during the pendency of this case;
        ;         (k)      not view or possess child pornography as defined by 18 USC 2256(8), except in the presence of your attorney to prepare for your
                           defense;
        ;         (l)      not access the Internet and your custodian must password protect the Wi-Fi service in the family home and not provide the password
                           to you;
        ;         (m)      not use or possess a computer or any device capable of accessing the Internet in your residence or at any other location unless
                           otherwise approved by the pretrial services officer. Your custodian is authorized to have one password protected smartphone, one
                           password protected desktop, and one password protected laptop in the residence;
        ;         (n)      not loiter or be found within 100 feet of any school yard, park, playground, arcade, movie theater, or other place primarily used by
                           children under the age of 18;
        ;         (o)      not associate or have verbal, written, telephonic or electronic communication with any person who is under the age of 18, except in
                           the presence of another adult who is the parent or legal guardian of the minor;
        ;         (p)      following you release from custody; you must complete a 14-day quarantine period at your family residence. During this 14-day
                           quarantine period, you must remain inside your residence at all times except for medical needs preapproved by the PSO. You must
                           comply with any and all telephonic and virtual (video) reporting instructions given to you by the Pretrial Services office;
        ;         (q)      following the 14-day quarantine period, you must attempt to obtain a COVID-19 test with a medical provider at a location approved
                           by the PSOr, and you must report the results of your COVID-19 test to Pretrial Services immediately upon receipt;;
        ;         (r)      upon completion of the 14-day quarantine period and after you have submitted a negative COVID-19 test result to Pretrial Services,
                           participate in the following Location Monitoring program component and abide by all the requirements of the program, which will
                           include having a location monitoring unit installed in your residence and a radio frequency transmitter device attached to your person.
                           You must comply with all instructions for the use and operation of said devices as given to you by the Pretrial Services Agency and
                           employees of the monitoring company. You must pay all or part of the costs of the program based upon your ability to pay as
                           determined by the PSO. HOME INCARCERATION: You must remain inside your residence at all times except for medical needs
                           or treatment, religious services, and court appearances pre-approved by the PSO; and,

                  USMS SPECIAL INSTRUCTIONS:
        ;         (s)       have your release on bond delayed until 9:00 a.m. Thursday, February 25, 2021 at which time you will be released to your third-party
                            custodian and you must go directly to your residence in Lancaster, California.
AO I 99C ( Rev. 09/08- EDCA [ Fresno]) Advice of Penalties                                                          _ _ of _ 3
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                                              ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

      Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemea nor offense the punishment is an additional prison term of not more than one year. This sentence wi\l be
consecutive (i.e. , in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       ( 1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony- you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor - you will be fined not more than $ 100,000 or in1prisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                       Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




                                                                                        Defendant ·s Signature




                                                    Directions to the United States Marshal

  X ) The defendant is ORDERED released after processing.
 (D


            February 24, 2021
 Date: _ __ _ _ __ _ _ _ __
                                                                                      Judicial Officer 's Signature

                                                               Dale A. Drozd, U.S. District Judge
                                                                                         Printed name and title




                       DISTRIBUTION:      COURT       DEFENDANT    PRETRIAL SERVICE     U.S. ATTORNEY            U.S. MARSHAL
